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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
DELTA DIVISION

LONNIE SHOCKLEY PLAINTIFF
v. No. 2:18-cv-160-DPM

LEVI ROHN; CELADON TRUCKING
SERVICES, INC.; and EAGLE LOGISTICS
SERVICES, INC. DEFENDANTS

ORDER
Joint status report, Doc. 20, appreciated. Update on Mr. Brewer's
continued representation of Shockley, Doc. 20 at 1, noted. Shockley’s
pro se paper, Doc. 17, which the Court has construed as a motion to
extend the stay, is denied as moot. This case will remain stayed. Status
report due by 25 May 2021.
So Ordered.

IPV4AN MM $-
D.P. Marshall Jr.
United States District Judge

 

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